                 Case:4:19-cv-07123-PJH
                 Case  20-16408, 07/22/2020, ID: 11761779,
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                              July 22, 2020


       No.:                        20-16408
       D.C. No.:                   4:19-cv-07123-PJH
                                   WhatsApp Inc., et al v. NSO Group Technologies
       Short Title:
                                   Limited, et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
        Case:4:19-cv-07123-PJH
        Case  20-16408, 07/22/2020, ID: 11761779,
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                   UNITED STATES COURT OF APPEALS
                                                                     FILED
                          FOR THE NINTH CIRCUIT
                                                                     JUL 22 2020
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 WHATSAPP INC., a Delaware                     No. 20-16408
 corporation; FACEBOOK INC., a
 Delaware corporation,
                                               D.C. No. 4:19-cv-07123-PJH
              Plaintiffs - Appellees,          U.S. District Court for Northern
                                               California, Oakland
   v.
                                               TIME SCHEDULE ORDER
 NSO GROUP TECHNOLOGIES
 LIMITED; Q CYBER
 TECHNOLOGIES LIMITED,

              Defendants - Appellants.



The parties shall meet the following time schedule.

Wed., July 29, 2020           Appellant's Mediation Questionnaire due. If your
                              registration for Appellate CM/ECF is confirmed after
                              this date, the Mediation Questionnaire is due within
                              one day of receiving the email from PACER
                              confirming your registration.
Mon., September 21, 2020 Appellant's opening brief and excerpts of record
                         shall be served and filed pursuant to FRAP 31 and
                         9th Cir. R. 31-2.1.
Wed., October 21, 2020        Appellee's answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.
       Case:4:19-cv-07123-PJH
       Case  20-16408, 07/22/2020, ID: 11761779,
                                Document         DktEntry:
                                          113 Filed        1-1, Page
                                                     07/22/20   Page 33 of
                                                                        of 33

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT

                                              By: John Brendan Sigel
                                              Deputy Clerk
                                              Ninth Circuit Rule 27-7
